Case 1-13-45519-nhl_ Doc 414 _ Filed 06/20/17 Entered 06/20/17 08:39:00

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

x
In re Chapter 7
Herman Segal, Case No. 13-45519 (NHL)
Debtor.
x
NOTICE OF APPEARANCE

AND REQUEST FOR SERVICE OF PAPERS
PLEASE TAKE NOTICE that the undersigned now hereby appears as counsel for
Martin Weinberger, the son of the decedent, Cilya Weinberger, and a direct beneficiary of Cilya
Weinberger ILIT #1 and Cilya Weinberger ILIT #2 in the above captioned bankruptcy case and
requests as provided in Federal Rules of Bankruptcy Procedure 2002, 9007, and 9010(b) that all
notices given or required to be given, and all papers served or required to be served, be given to

and served upon:

GOLDBERG WEPRIN FINKEL GOLDSTEIN, LLP
1501 Broadway, 22™ Floor

New York, New York 10036

Attn: Kevin J. Nash, Esq.

Attn: J. Ted Donovan, Esq.

Tel. (212) 221-5700

Fax: (212) 221-6532

E-mail: KNash@GWFGLaw.com

E-mail: TDonovan@GWFGLaw.com

PLEASE TAKE FURTHER NOTICE that this request includes not only the notices
and papers referred to in the Bankruptcy Rules specified above, but also includes, without
limitation, any orders and notices of any application, motion, petition, pleading, request,
complaint or demand, whether formal or informal, whether written or oral, whether transmitted
or conveyed by mail, courier service, hand-delivery, telephone, facsimile transmission, telegraph,

telex, e-mail, internet, or otherwise filed of made with regard to the above captioned case, that
Case 1-13-45519-nhl_ Doc 414 _ Filed 06/20/17 Entered 06/20/17 08:39:00

affects or seeks to affect in any way any rights or interests of any party in interest in this case

with respect thereto.

Dated: New York, New York

June 20, 2017
Goldberg Weprin Finkel Goldstein, LLP

Counsel for Martin Weinberger
1501 Broadway, 22" Floor
New York, New York 10036
(212) 221-5700

By: /s/ Kevin J. Nash, Esq.
